Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 1 of 6
Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 2 of 6
Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 3 of 6
Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 4 of 6
Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 5 of 6
Case 5:20-cv-02267-JFL Document 8-1 Filed 06/19/20 Page 6 of 6
